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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION


BRENDAN E. ADAMS, an individual,                    CV-18-148-M-DLC

      Plaintiff and Counter Defendant,                     ORDER

vs.

HOWARD C. ROBERTS, an
individual,

      Defendant and Counter Claimant.



      IT IS HEREBY ORDERED that the Clerk of Court may provide meals to

the jurors during their deliberations.


      DATED this 5th day of May, 2021.


                                         ________________________________
                                         Dana L. Christensen, District Judge
                                         United States District Court
